       Case 1:18-cr-00246-ADA-BAM Document 69 Filed 07/18/19 Page 1 of 3

 1 VICTOR SHERMAN (SBN 38483)
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 4 Facsimile (310) 392-9029
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 5
     Attorney for Defendant
 6 RUBEN CORTEZ-ROCHA

 7

 8                        UNITED STATES DISTRICT COURT
 9
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11 UNITED STATES OF AMERICA,               )       Case No.: 1:18-CR-00246-DAD-BAM
                                           )
12                      Plaintiff,         )       EX PARTE APPLICATION FOR
13
                                           )       ORDER TO MODIFY
                 v.                        )       DEFENDANT’S BOND;
14                                         )       DECLARATION OF VICTOR
                                           )       SHERMAN; ORDER
15 RUBEN CORTEZ-ROCHA,                     )
                                           )
16                                         )
                        Defendant.         )
17                                         )
18
           Defendant, Ruben Cortez-Rocha, by and through his attorney of record, Victor
19
     Sherman, hereby applies Ex Parte to this Honorable Court for an Order to modify the
20 conditions of his bond.

21         This motion is based upon the files and records in this case, and the attached
22 Declaration of Victor Sherman.

23 Date: July 8, 2019                      Respectfully submitted:
24
                                           LAW OFFICES OF VICTOR SHERMAN
25

26                                   By    /s/Victor Sherman
                                           VICTOR SHERMAN
27                                         Attorney for Defendant
28                                         Ruben Cortez-Rocha


                                               1
       Case 1:18-cr-00246-ADA-BAM Document 69 Filed 07/18/19 Page 2 of 3

 1                          DECLARATION OF VICTOR SHERMAN
 2
               I, Victor Sherman, declare as follows:
 3

 4             1. I am attorney at law duly licensed to practice before this Honorable Court,

 5 and represent the defendant, Ruben Cortez-Rocha, in the above-entitled matter.

 6
               2. The Court previously imposed that the defendant be provided with an
 7

 8 electronic monitoring device, along with curfew conditions. Having successfully

 9 abided by all conditions of bail since October, 2018, counsel is requesting that the

10
     electronic monitoring device be removed and that defendant’s pretrial service officer,
11

12 Brenda Mercado, be given the discretion to decide as to whether or not a curfew

13 should be imposed, and, if so, what the hours should be.

14
               3. Defense counsel has spoken with Assistant United States Attorney, Angela
15

16 Scott, who does not oppose the above request for bond modification.

17             4. Therefore, it is respectfully requested that the Court issue an Order for the
18
     defendant’s bond be modified to have his electronic monitoring device removed, and
19
20 for his pretrial service officer to decide as to whether or not a curfew should be

21 imposed. All other terms and conditions of the bond are to remain in full force and

22
     effect.
23

24             I declare under penalty of perjury that the foregoing is true and correct.
25             Dated this 8th day of July, 2019 at Los Angeles, California.
26
                                                /s/Victor Sherman
27                                              ________________________________
28                                              VICTOR SHERMAN


                                                    2
       Case 1:18-cr-00246-ADA-BAM Document 69 Filed 07/18/19 Page 3 of 3

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 9                          UNITED STATES DISTRICT COURT
10                      FOR THE EASTERN DISTRICT OF CALIFORNIA
11

12 UNITED STATES OF AMERICA,              )       Case No.: 1:18-CR-00246-DAD-BAM
                                          )
13                        Plaintiff,      )       ORDER
                                          )
14                 v.                     )
                                          )
15                                        )
     RUBEN CORTEZ-ROCHA,                  )
16                                        )
                                          )
17                        Defendant.      )
                                          )
18

19            GOOD CAUSE APPEARING THEREFOR;
20            IT IS HEREBY ORDERED that the defendant’s bond be modified to have his
21 electronic monitoring device removed, and that defendant’s Pretrial Service Officer,

22 Brenda Mercado, be given the discretion to decide whether or not a curfew should be

23 imposed, and, if so, what the curfew hours should be.

24

25 IT IS SO ORDERED.

26
     Dated:     July 18, 2019                          /s/   Sheila K. Oberto      .
27                                            UNITED STATES MAGISTRATE JUDGE
28


                                              3
